
625 S.E.2d 782 (2005)
360 N.C. 174
BRUNING &amp; FEDERLE MFG. CO.
v.
Ricky D. MILLS and Associated Metal Works, Inc.
No. 609P05.
Supreme Court of North Carolina.
December 1, 2005.
Douglas G. Eisele, Statesville, for Bruning &amp; Federle Mfg. Co.
William P. Pope, Statesville, for Ricky D. Mills.
Robert B. Cordle, Charlotte, for Associate Metal Works, Inc.

ORDER
Upon consideration of the petition filed on the 31st day of October 2005 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 1st day of December 2005."
